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                     EXHIBIT 9
*
    PI
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         From:                        Gray, Carolyn HHD
                                                   -




         Sent:                        Thursday, May 12, 2016 11:04 AM CDT
         To:
         cc:                          Macias, Naomi HHD; McCoy, David HHS
                                                       -                  -




         Subject:                     FW: Charitable Food Service Participation Form and Information about Parks and   Bridges
         Attachments:                 Charitable Feeding Ordinance 2012-269.pdf, Charitable food service participation form revised 07-26-
                                      2012 (2) (2) map of parks.doc



         Hello Pastor Lee,


         Hope you are doing well today. Following up on your request for information. Attached is the charitable
         food service participation form and the ordinance governing charitable feeding. The Charitable Feeding
         Ordinance requires that you have advanced written permission from the property owner if you feed the
         homeless on public or private property. Please contact me if you wish to schedule a City Park for
         charitable feeding. Here is the list of parks available for charitable feeding.

         Little Tranquility Park*** 700 Bagby, 400 Rusk, 400 Travis
         Hennessey ****1900 Lyons Ave, Houston, TX 77020
         Brewster ***1800 Des Chaumes, Houston TX 77026
         Henderson *** Henderson is close to a homeless shelter--4250 Elysian, 77009
         Peggy’s Point Plaza***4240 Main Street, Houston, TX 77020
         Eastwood Park***5000 Harrisburg, Houston, TX 77011
         Library Plaza*** 521 Lamar.
         The following parks are not designated for charitable feeding: Hermann, Memorial, Moody, Irvington.

         If feeding more than 5 persons under bridges, a person needs to obtain advanced written permission
         from TXDOT. TXDOT's Office of Public Affairs may be reached by calling Raquelle Lewis, 713-802-5071,
         or Karen Othon, 713-354-1532, or Danny Perez, 713-802-5077, or Deldrea Samuels, 713-802-5072 for
         additional information about the property under bridges.

         In order to obtain a charitable food safety certificate which is valid for 5 years, you will need to register
         for and attend the free charitable food safety class held on the                          Saturday of each month at The
         Beacon. The next available class is May 21, 2016:

         May 21, 2016
         Charitable Feeding Class Training
         The Beacon

         1212 Prairie Street Houston, TX 77002
         Dunn Center Conference Room B

         12:00 P.M.   —


                          1:30 P.M.
         ( 3rd Saturday, each month)


         Class attendance is voluntary. However, if your organization chooses to become a recognized charitable
         food service provider (as listed on the Houston Health Department website), then you will need to
         submit the attached participation form and attend the charitable feeding class training.




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If you have additional questions, please visit our website at
http://www.houstontx.gov/health/Food/index.html or feel free to contact me.

Thank you,


Carolyn Gray, RS
Chief Sanitarian
Retail Food Inspection
Houston Health Department
832-393-5131
713-376-0381




                                                                                             COH 025284
